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                  IN THE UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF PENNSYLVANIA



CHANCELLOR PROPERTIES, INC.        :       CIVIL ACTION
                                   :
                                   :

         vs.                       :

                                   :

LENOX CONDOMINIUM ASSOCIATION      :        NO. 09-4514




          ORDER OF TRANSFER OUT OF CIVIL SUSPENSE FILE

     AND NOW, this     6th        day of August 2012, it
appearing to the court that the above entitled case should be
transferred from the Civil Suspense File, it is

     ORDERED that the Clerk of Court transfer said case from the
Civil Suspense File to the current docket for final disposition.


                                       BY THE COURT:




                                        /s/Harvey Bartle III
                                       HARVEY BARTLE III         J.




Civ 15 (8/80)
